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                                UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN JOSE DIVISION
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18
     IN RE GOOGLE ASSISTANT PRIVACY             Case No. 5:19-cv-04286-BLF
19   LITIGATION
                                                STIPULATION TO REOPEN FACT AND
20                                              EXPERT DISCOVERY FOR LIMITED
                                                PURPOSE; [PROPOSED] ORDER
21
                                                Judge:   Beth Labson Freeman
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                                                                      5:19-CV-04286-BLF
       STIPULATION TO REOPEN FACT AND EXPERT DISCOVERY FOR LIMITED PURPOSE; [PROPOSED]
                                                                                 ORDER
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 1           Pursuant to the Court’s Order of May 13, 2022, plaintiffs Asif Kumandan, Melissa Spurr,
 2   and Melissa Spurr, as guardian of B.S., a minor, Lourdes Galvan, Eleeanna Galvan, Edward
 3   Brekhus, and Jon Hernandez (“Plaintiffs”), and defendants Google LLC and Alphabet Inc.
 4   (“Defendants” or “Google”), by and through their attorneys of record, hereby stipulate as follows:
 5           1.      WHEREAS, on May 13, 2022, the Court conditionally granted Plaintiffs’
 6   Administrative Motion for Relief From Case Management Schedule (Dkt. Nos. 171, 179) resetting
 7   the class certification briefing schedule as follows: Plaintiffs to move for class certification by July
 8   18, 2022; Google to oppose Plaintiffs’ motion for class certification by September 13, 2022; and
 9   Plaintiffs to file a reply in support of the motion for class certification by October 3, 2022 (Order
10   Granting Pls.’ Mot. to Extend Filing Deadline for Class Cert. (May 13, 2022), Dkt. No. 199. at 3);
11           2.      WHEREAS, the Court’s Order is conditioned on the Parties stipulating to reopen
12   fact discovery for a reasonable time after the motion for class certification is filed (see id. at 2-3);
13           3.      WHEREAS, the Parties agree that fact discovery should be reopened from July 18,
14   2022, to September 13, 2022, for the limited purpose of allowing Google to conduct discovery
15   regarding Plaintiffs’ class certification motion, including deposing any class representatives;
16           4.      WHEREAS, the Parties agree that fact discovery should be reopened from
17   September 13, 2022 to October 3, 2022 for the limited purpose of allowing Plaintiffs to conduct
18   discovery regarding Google’s opposition to class certification to the extent Google presents
19   previously undisclosed evidence including evidence from new Google or third party witnesses;
20           5.      WHEREAS, the Parties agree that the close of expert discovery should be extended
21   from August 19, 2022 to October 3, 2022, including to allow the parties time to depose any experts
22   that may submit a report in support of or in opposition to class certification.
23           NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the Parties as
24   follows:
25           1.      Fact discovery shall reopen from July 18, 2022 until September 13, 2022, for the
26   limited purpose of allowing Google to conduct discovery regarding Plaintiffs’ class certification
27   motion, including deposing any class representatives. To the extent Google seeks discovery from
28                                                      -1-
                                                                      5:19-CV-04286-BLF
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                                                                                 ORDER
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 1   any third parties during this period, Plaintiffs will be allowed to participate in that discovery at the
 2   same time;
 3          2.      Fact discovery shall reopen from September 13, 2022 to October 3, 2022 for the
 4   limited purpose of allowing Plaintiffs to conduct discovery regarding Google’s opposition to class
 5   certification to the extent Google presents previously undisclosed evidence including evidence
 6   from new Google or third party witnesses. Should Google’s opposition include evidence from new
 7   third party or Google witnesses that Plaintiffs have not had the opportunity to depose, the parties
 8   will meet and confer regarding the need for and scheduling of such depositions. Google reserves
 9   its right to oppose any request by Plaintiffs;
10          3.      The close of expert discovery shall be extended from August 19, 2022 until October
11   3, 2022.
12          IT IS SO STIPULATED.
13   Dated: May 20, 2022                       PERKINS COIE LLP
14

15                                             By: /s/ Sunita Bali
                                                 Bobbie J. Wilson (SBN 148317)
16                                               Sunita Bali (SBN 274108)
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                                               LOWEY DANNENBERG, P.C.
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                                               By: /s/ Andrea Farah
21                                               Andrea Farah (pro hac vice)

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                                                                                 ORDER
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 1                                  [PROPOSED] ORDER
 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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               May 20
     Dated: _______________, 2022
 4                                                 Hon. Beth Labson Freeman
                                                   U.S. District Judge
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                                                                                 ORDER
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 1                                              Attestation
 2          Pursuant to L.R. 5-1(h)(3), I attest that concurrence in the filing of this document was
 3   obtained from the other signatories.
                                                           /s/ Sunita Bali
 4                                                         Sunita Bali
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       STIPULATION TO REOPEN FACT AND EXPERT DISCOVERY FOR LIMITED PURPOSE; [PROPOSED]
                                                                                 ORDER
